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                                                      Exhibit 25
                      Designations of Deposition Testimony of Andrew Murr (October 12, 2022)


             Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                            Objections
        7:8                    7:14
       7:21                    7:25
        9:1                    10:5
       10:14                  11:23
       13:11                  14:11
       14:15                  14:18
       14:22                   15:3
       17:4                   17:10
       26:3                    27:7
       29:8                    31:6
       31:20                   32:4
       36:17                  36:19
       40:12                  40:20
       41:15                  41:21
       43:6                   43:10




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